        Case 1:16-cr-00436-KMW Document 216 Filed 04/06/18 Page 1 of 1

                                                 USDSSDNY
                                                 DOCUMENT
UNITED STATES DISTRICT COURT                     ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                    DOC#:
                                   X             DATE FI-L-ED_:_t/-,/c.-/...,,...l_<tf_=
UNITED STATES OF AMERICA
                                              ORDER
              - v. -
                                              S9 16 Cr. 436 (KMW)
STEVEN BROWN,

                 Defendant.
                                   X




            WHEREAS,   with the defendant's consent,          his guilty plea

allocut ion was made before a          United States Magistrate Judge on

April 5, 2018;

            WHEREAS,   a   transcript    of the al locut 1On was made and

thereafter was transmitted to the District Court; and

            WHEREAS, upon review of that transcript, this Court has

determined that the defendant entered the guilty plea knowingly

and voluntarily and that there was a factual basis for the guilty

plea;

             IT IS HEREBY ORDERED that the defendant's guilty plea is

accepted.

SO ORDERED:

Dated:       New York, New York
             April _k__, 2018




                                   THE HONORABLE KIMBA M. WOOD
                                   UNITED STATES DISTRICT JUDGE
